  

pee The Sivion Law Firm, P.C,
= nel Attorneys and Counselors at haw
rete A ~ Anthosty G: Sinion

February 11, 2020

Via Facsimile and U8. Mail
Honorable E. Richard Webber
Thotnas F. Ba agleton US. Cotirthotse
111 South 10" Street

St, Louis, MO 63102

Fax; (314) 244-7469

Re: dJohin Rallo
Judge Webber; ‘

1 arn writing thié letter on béhalf of Johii Rallo, who is scheduled to be sentenced by you
Of March 5, 2020. I have knows Join and his family. for many years, I coached John’s son in
soccer’ when they were members of our church, St. 3 oseph’s i in Manchester, befbre they moved t6
another parish. My family is also close fiends with John’s sister and parents. ‘Through these
relationshipis, I have coms to ktiow John very well.

I know that J ohn: truly regrets the mistakes he made and is ready to do what is necessary
to make things right. I know that John sincerely regrets any harm he caused and that he is very
remorseful, I know ftom my personal interactions with John and his family that he is a
charitable and loving family man: I, like all of his fiends and family, hopé that Your Honor will
consider the totality of Joliti’s actions throughout his life rather than only his regrettable worst
day in. detémining the proper sentence and would hope you can consider an alternative to
incarceration when sentencing. John,

Thank you very annich.

Sincerely,

     

Anthony G. si ot

AGS/ajh

qywy.simonlewpecom

 
